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ABNER GAURINO, AURORA GAURINO
and ABIGAIL GAURINO

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada )         Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B. )
STANLEY, as TRUSTEE for THE         )      DEFENDANTS ABNER
EDMON KELLER AND CLEAVETTE )               GAURINO, AURORA
MAE STANLEY FAMILY TRUST;           )      GAURINO AND ABIGAIL
CRAIG B. STANLEY, individually;     )      GAURINO’S REPLY TO
MILLICENT ANDRADE, individually, )         PLAINTIFFS’ OPPOSITION
                                    )      [#213] TO GAURINO
                   Plaintiffs,      )      DEFENDANTS' JOINDER [#191]
                                    )      TO FIDELITY NATIONAL
            vs.                     )      TITLE & ESCROW OF
                                    )      HAWAI‘I, INC. AND ROMMEL
ABNER GAURINO, AURORA               )      GUZMAN'S MOTION FOR
GAURINO, ABIGAIL GAURINO,           )      SUMMARY JUDGMENT ON
INVESTORS FUNDING                   )      ALL CLAIMS ASSERTED BY
CORPORATION, as Trustee for an      )      PLAINTIFFS AGAINST
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unrecorded Loan Participation         )    FIDELITY NATIONAL TITLE
Agreement dated June 30, 2014;        )    & ESCROW OF HAWAI‘I AND
APT-320, LLC, a Hawai‘i Limited       )    ROMMEL GUZMAN IN THE
Liability Company, CRISTETA C.        )    FIRST AMENDED
OWAN, an individual; ROMMEL           )    COMPLAINT [#30] FILED ON
GUZMAN; FIDELITY NATIONAL             )    5/8/17; CERTIFICATE OF
TITLE & ESCROW OF HAWAI‘I and         )    SERVICE
DOES 1-100 Inclusive,                 )
                                      )    Hearing: January 22, 2018
                  Defendants.         )    Time: 9:00 am
                                      )    Chief Judge: Michael J. Seabright
APT-320, LLC, a Hawai‘i Limited       )
Liability Company, Third-Party        )    Trial Date: March 27, 2018
Plaintiff,                            )
                                      )
        vs.                           )
                                      )
APARTMENT OWNERS OF                   )
DIAMOND HEAD SANDS,                   )
                                      )
        Third-Party Defendant.        )
                                      )




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       DEFENDANTS ABNER GAURINO, AURORA GAURINO
         AND ABIGAIL GAURINO’S REPLY TO PLAINTIFFS’
  OPPOSITION [#213] TO GAURINO DEFENDANTS' JOINDER [#191]
 TO FIDELITY NATIONAL TITLE & ESCROW OF HAWAI‘I, INC. AND
 ROMMEL GUZMAN'S MOTION FOR SUMMARY JUDGMENT ON ALL
 CLAIMS ASSERTED BY PLAINTIFFS AGAINST FIDELITY NATIONAL
      TITLE & ESCROW OF HAWAI‘I AND ROMMEL GUZMAN
    IN THE FIRST AMENDED COMPLAINT [#30] FILED ON 5/8/17

      Come now Defendants, Abner Gaurino, Aurora Gaurino and Abigail
Gaurino, by and through their attorneys, John R. Remis, Jr. and Robert D. Eheler,
Jr., and hereby submits their Reply to Plaintiffs’ Opposition [#213] to Gaurino
Defendants' Joinder [#191] to Fidelity National Title & Escrow of Hawai‘i, Inc.
and Rommel Guzman's Motion for Summary Judgment on All Claims Asserted by
Plaintiffs against Fidelity National Title & Escrow of Hawai‘i and Rommel
Guzman in the First Amended Complaint [#30] Filed on 5/8/17.
      DATED: Honolulu, Hawai‘i, January 8, 2018.




                                              /S/ JOHN R. REMIS, JR.
                                              JOHN R. REMIS, JR.
                                              ROBERT D. EHELER, JR.
                                              Attorneys for Gaurino Defendants




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                            REPLY MEMORANDUM

I.    INTRODUCTION

      The gravamen of Plaintiffs’ claims are based upon the false premise that
they were solicited by Abner and Aurora Gaurino to purchase shares or “units” in
a Ponzi scheme. Plaintiff, Millicent Andrade (Andrade), was solicited by Rosaly
Demenden (Cristeta Owan’s cousin) to attend a meeting at Cristeta Owan’s office
involving BLGM in September 2013. See Ex. A. p12 L14-16; p13 L24. See also
Ex. C at para. 3. Abner and Aurora Gaurino did not solicit Andrade, Atooi Aloha,
LLC (Atooi) Craig Stanley, individually or in his capacity as sole trustee of The
Edmon Keller and Cleavette Mae Stanley Family Trust (Trust). Craig Stanley
(Stanley) claims no knowledge of any of the events alleged in Plaintiffs’ First
Amended Complaint. Ex. B pp 81 L 24, 25; 82 L 1. Thus, Atooi had no authorized
representative present at said meeting to purchase or invest in anything. It was
solely Andrade’s decision to acquire her personal interest in BLGM units with her
personal funds. See Ex. C. Andrade’s initial acquisition occurred at the Owan
meeting venue. Stanley, a member of Atooi never authorized Andrade to issue
checks from the Plaintiff Trust. Ex. A p 95. In essence Ms. Andrade was self-
serving at the expense of Mr. Stanley and his trust. She admitted to signing Craig
Stanley trust checks without Craig Stanley’s knowledge or permission and without
any authority from the Craig Stanley Trust. See Ex. A at pp 95 L 11 through 98 L
10. This belies Ms. Andrade’s assertion at page 4 of Plaintiff’s Memorandum in
Opposition that she purchased BLGM units on behalf of the Trust. Craig Stanley
was the sole trustee of the trust and solely responsible for the trust property Ex. B
at P68 L7-13.


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II.     LEGAL ARGUMENT
        Plaintiffs argue at page 6 of their Memorandum in Opposition that they have
stated a claim for relief against the Gaurinos. In doing so, Plaintiffs ignore the
proscription of FRCP Rule (9)(b) requiring fraud to be plead with particularity.
Plaintiffs have already amended their Complaint without properly pleading fraud
against the Gaurinos. As such, the First Amended Complaint as to the Gaurinos
should be dismissed. See: Destfino v. Reiswig, 630 F.3d 952, 958-959 (9th Cir.
2011)
        Plaintiffs argument as to standing at page 9 of their Memorandum in
Opposition fails as the trust did not suffer injury by reason of any conduct on the
part of the Gaurinos but rather, because of the conduct of Millicent Andrade. The
cited tendered payments of $61,267. for the purchase of 77 units was made
without the knowledge or consent of the sole trustee, Craig Stanley. Ex. B Mr.
Stanley did not authorize Ms. Andrade to make this purchase nor sign trust checks
with his name. Ex. A at p 95 L 11-22.
        As a result of the fraudulent conduct of Ms. Andrade, the trust lost $61,267.
The Gaurinos owe the trust nothing. Mr. Stanley elected not to pursue a claim
against Ms. Andrade for her unauthorized actions. The Gaurinos should not be
held responsible for his election not to pursue a claim against Ms. Andrade.
        Atooi never entered into an agreement to transfer title to the property for
333 units. It was Millicent Andrade who did so without the knowledge or
permission of Atooi. Craig Stanley testified he knew nothing about this transfer.
        The Gaurinos never promised the 333 units would triple in value. Such is a
self-serving statement of Ms. Andrade who acted in discord with her relationship
to Mr. Stanley and without any authority from Atooi or the trust. See Declaration


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of Aurora Gaurino dated January 7, 2018.
       No units, electronic or otherwise were intended to by transferred by the
Gaurinos to Atooi but instead to Ms. Andrade. See Ex. D. Atooi lost title to the
property due to the unauthorized conduct of Ms. Andrade.
III.   CONCLUSION
       The Gaurino Defendants Joinder to the Motion for Summary Judgment
should be granted and Plaintiffs First Amended Complaint should be dismissed as
to the Gaurinos with prejudice.
       DATED: Honolulu, Hawaii. January 8, 2018.


                                                    /s/ John R. Remis, Jr.
                                                    John R. Remis, Jr.
                                                    Robert D. Eheler, Jr.
                                                    Attorneys for the
                                                    Gaurino Defendants




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                          CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a copy of the foregoing Reply to Plaintiffs’
Opposition to the Gaurino Defendants was duly served on the parties below via
CM/ECF.
TO:

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CRAIG B. STANLEY, Individually;
and MILLICENT ANDRADE, Individually

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      DATED: Honolulu, Hawai‘i , January 8, 2018.


                                   /s/ John R. Remis, Jr.
                                   JOHN R. REMIS, JR.
                                   ROBERT D. EHELER, JR.
                                   Attorneys for Gaurino Defendants




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